         Case 3:02-cr-00035-GMG-RWT Document 983 Filed 09/21/15 Page 1 of 7 PageID #: 3447
AO 245D          (Rev. 12/07) Judgment in a Criminal Case for Revocations
v1               6KHHW



                                               81,7('67$7(6',675,&7&2857
                                                     NORTHERN DISTRICT OF WEST VIRGINIA

                81,7('67$7(62)$0(5,&$                                                           JUDGMENT IN A CRIMINAL CASE
                                       v.                                                            )RU5HYRFDWLRQRI3UREDWLRQRU6XSHUYLVHG5HOHDVH
                  WILLIAM MATTHEW REDMAN
                                                                                                   &DVH1XPEHU 3:02CR35-010
                                                                                                   8601XPEHU 04324-087

                                                                                                    Nicholas J. Compton
                                                                                                   'HIHQGDQW¶V$WWRUQH\
THE DEFENDANT:
✔ DGPLWWHGJXLOWWRYLRODWLRQRIFRQGLWLRQV
G                                MandatoryV and     Standard Conditions
                                            RIWKHWHUPRIVXSHUYLVLRQ

G ZDVIRXQGLQYLRODWLRQRIFRQGLWLRQ V DIWHUGHQLDORIJXLOW
     

7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHYLRODWLRQV


Violation Number                        Nature of Violation                                                                                                  Violation Ended
            1                            Failed to follow probation officer's directions and associated with                                            04/09/15

                                            Kristen Flint

            2                            Failed to follow probation officer's directions and associated with                                            04/10/15

                                            Kristen Flint



✔6HH DGGLWLRQDOYLRODWLRQ V RQ SDJH 
      7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHV 2 WKURXJK 7                           RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWRWKH
6HQWHQFLQJ5HIRUP$FWRI
G 7KHGHIHQGDQWKDVQRWYLRODWHGFRQGLWLRQ V DQGLVGLVFKDUJHGDVWRVXFKYLRODWLRQ V FRQGLWLRQ
         ,WLVRUGHUHGWKDWWKHGHIHQGDQWP   XVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
                                            must
RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV



                                                                                        September 17, 2015
                                                                                         'DWHRI,PSRVLWLRQRI-XGJPHQW




                                                                                         Signature of Judge


                                                                                        Gina M. Groh, Chief United States District Judge
                                                                                         1DPHRI-XGJH7LWOHRI-XGJH


                                                                                        September 21, 2015
                                                                                         'DWH
          Case 3:02-cr-00035-GMG-RWT Document 983 Filed 09/21/15 Page 2 of 7 PageID #: 3448
AO 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
v1           6KHHW$

                                                                                                       Judgment Page: 2 of 7
     '()(1'$17 WILLIAM MATTHEW REDMAN
     &$6(180%(5 3:02CR35-010

                                            ADDITIONAL VIOLATIONS
 Violation Number                Nature of Violation                                                    Violation Concluded
             3                    Arrested on April 20, 2015, for Domestic Battery in Berkeley County     04/20/15
                                    Magistrate Court, Case Number 15M-1700
              4                   Arrested on June 24, 2015, for Distribution of Heroin in Berkeley       06/24/15
                                    County Magistrate Court, Case Number 15F-711
AO 245BCase
AO 245D      3:02-cr-00035-GMG-RWT
           (Rev.
         (Rev.    12/07)
               09/08)     Judgment
                       Judgment    in a Criminal
                                in Criminal               Document 983
                                            CaseCase for Revocations            Filed 09/21/15 Page 3 of 7 PageID #: 3449
v1         Sheet
         Sheet 2— 2 -Imprisonment
                      Imprisonment


 DEFENDANT:   WILLIAM MATTHEW REDMAN                                                                            Judgment Page: 3 of 7
 CASE NUMBER: 3:02CR35-010
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of: Three Hundred Sixty-Four (364) days



   ✔ The court makes the following recommendations to the Bureau of Prisons:
   G
       G That the defendant be incarcerated at an FCI or a facility as close to _____________________________________as possible;
         G and at a facility where the defendant can participate in substance abuse treatment, as determined by the Bureau of Prisons;
               G including the 500-Hour Residential Drug Abuse Treatment Program.
       G That the defendant be incarcerated at ________________________________ or a facility as close to his/her home in
            _________________________________as possible;
            G     and at a facility where the defendant can participate in substance abuse treatment, as determined by the Bureau of Prisons;
                  G including the 500-Hour Residential Drug Abuse Treatment Program.
       ✔ That the defendant be given credit for time served since July 31, 2015
       G
            ✔
            G     That the defendant remain at the Eastern Regional Jail in Martinsburg, West Virginia, or be incarcerated at FCI Cumberland.


       G That the defendant be allowed to participate in any educational or vocational opportunities while incarcerated, as determined by
            the Bureau of Prisons.
   G Pursuant to 42 U.S.C. § 14135A, the defendant shall submit to DNA collection while incarcerated in the Bureau of Prisons,
       or at the direction of the Probation Officer.

   ✔ The defendant is remanded to the custody of the United States Marshal.
   G
   G The defendant shall surrender to the United States Marshal for this district:
       G at       _____________________         G a.m.       G p.m.         on      ______________________________ .

       G as notified by the United States Marshal.
   G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       G before ___________
                12:00 pm (noon) _________________________
                                 on                                    .

       G as notified by the United States Marshal.
       G as notified by the Probation or Pretrial Services Office.
       G on _______________________, as directed by the United States Marshals Service.
   G
                                                                RETURN
 I have executed this judgment as follows:


       Defendant delivered on        ____________________________________               to    _______________________________________

   at ________________________________            , with a certified copy of this judgment.

                                                                                 ___________________________________________________
                                                                                                 UNITED STATES MARSHAL

                                                                           By    ___________________________________________________
                                                                                              DEPUTY UNITED STATES MARSHAL
       Case 3:02-cr-00035-GMG-RWT Document 983 Filed 09/21/15 Page 4 of 7 PageID #: 3450
$2'
AO 245D         5HY
                (Rev.          -XGJPHQWLQD&ULPLQDO&DVHIRU5HYRFDWLRQV
                      12/07) Judgment   in a Criminal Case for Revocations
v1             6KHHW²6XSHUYLVHG5HOHDVH
                 Sheet 3 -- Supervised Release
                                                                                                    -XGJPHQW²3DJH     Page:RI4 of 7 
                                                                                                               Judgment
'()(1'$17               WILLIAM MATTHEW REDMAN
&$6(180%(5             3:02CR35-010
                                                      SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI         NONE


         7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHGLVWULFWWRZKLFKWKHGHIHQGDQWLVUHOHDVHGZLWKLQKRXUVRIUHOHDVHIURP
WKHFXVWRG\RIWKH%XUHDXRI3ULVRQV
7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH7KHGHIHQGDQWVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHG
VXEVWDQFH7KHGHIHQGDQWVKDOOVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
WKHUHDIWHUDVGHWHUPLQHGE\WKHSUREDWLRQRIILFHU
G      7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
       IXWXUHVXEVWDQFHDEXVH &KHFNLIDSSOLFDEOH
G      7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKLVFRQGLWLRQKDVEHHQVDWLVILHGGXULQJ
       DSUHYLRXVWHUPRIVXSHUYLVLRQ &KHFNLIDSSOLFDEOH
G      7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQDVGHILQHGLQ86&
        &KHFNLIDSSOLFDEOH 
G      7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHUXQOHVVSUHYLRXVO\FROOHFWHGE\WKH
       %XUHDXRI3ULVRQV &KHFNLIDSSOLFDEOH 
G      7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW 86&HW
       VHT DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFKKHRUVKH
       UHVLGHVZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH &KHFNLIDSSOLFDEOH
G      7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH &KHFNLIDSSOLFDEOH
        ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVEHDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWK
WKH6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW
         7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQDOFRQGLWLRQV
RQWKHDWWDFKHGSDJH
                                     STANDARD CONDITIONS OF SUPERVISION
       WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
 2)    WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHUDQGVKDOOVXEPLWDWUXWKIXODQGFRPSOHWHZULWWHQUHSRUWZLWKLQWKHILUVWILYHGD\VRI
        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
        HDFKPRQWK
       WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
       WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
       WKHGHIHQGDQWVKDOOZRUNUHJXODUO\DWDODZIXORFFXSDWLRQ XQOHVVH[FXVHGE\WKHSUREDWLRQRIILFHUIRUVFKRROLQJWUDLQLQJRURWKHU
        DFFHSWDEOHUHDVRQV
       WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
       WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRODQGVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\
        FRQWUROOHGVXEVWDQFHRUDQ\SDUDSKHUQDOLDUHODWHGWRDQ\FRQWUROOHGVXEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQ
       WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
       WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRI
        DIHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
      WKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
        FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
      WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUZLWKLQVHYHQW\WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
      WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHHPHQWWRDFWDVDQLQIRUPHURUDVSHFLDODJHQWRIDODZHQIRUFHPHQWDJHQF\ZLWKRXWWKH
        SHUPLVVLRQRIWKHFRXUWDQG
      DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOO
                                                                QRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
        UHFRUGRUSHUVRQDOKLVWRU\RUFKDUDFWHULVWLFVDQGVKDOOSHUPLWWKHSUREDWLRQRIILFHUWRPDNHVXFKQRWLILFDWLRQVDQGWRFRQILUPWKH
        GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
       Case 3:02-cr-00035-GMG-RWT Document 983 Filed 09/21/15 Page 5 of 7 PageID #: 3451
AO$2%
   245D      (Rev. 12/07)-XGJPHQWLQD&ULPLQDO&DVH
              5HY  Judgment in a Criminal Case for Revocations
v1           6KHHW±6SHFLDO&RQGLWLRQV
                                                                                                      -XGJPHQW²3DJH          RI         
 '()(1'$17 WILLIAM MATTHEW REDMAN                                                                               Judgment Page: 5 of 7
 &$6(180%(5 3:02CR35-010

                                           SPECIAL CONDITIONS OF SUPERVISION
  NONE




      8SRQDILQGLQJRIDYLRODWLRQRISUREDWLRQRUVXSHUYLVHGUHOHDVH,XQGHUVWDQGWKDWWKHFRXUWPD\  UHYRNHVXSHUYLVLRQ  H[WHQGWKH
 WHUPRIVXSHUYLVLRQDQGRU  PRGLI\WKHFRQGLWLRQVRIVXSHUYLVLRQ
     7KHVHVWDQGDUGDQGRUVSHFLDOFRQGLWLRQVKDYHEHHQUHDGWRPH,IXOO\XQGHUVWDQGWKHFRQGLWLRQVDQGKDYHEHHQSURYLGHGDFRS\RI
 WKHP


      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      'HIHQGDQW¶V6LJQDWXUH                                                        'DWH


      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      6LJQDWXUHRI863UREDWLRQ2IILFHU'HVLJQDWHG:LWQHVV                       'DWH
      Case 3:02-cr-00035-GMG-RWT Document 983 Filed 09/21/15 Page 6 of 7 PageID #: 3452
AO 245D
$2%       (Rev. 12/07)
             5HY     Judgment in a Criminal Case for Revocations
                        -XGJPHQWLQD&ULPLQDO&DVH
v1          6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
              Sheet 5 -- Criminal Monetary Penalties
                                                                                                         -XGJPHQW²3DJH             RI           
'()(1'$17 WILLIAM MATTHEW REDMAN                                                                                          Judgment Page: 6 of 7
&$6(180%(5 3:02CR35-010
                                                 CRIMINAL MONETARY PENALTIES
    7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                        Assessment                                             Fine                             Restitution
TOTALS              $                                                      $                                $


G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO                      $QAmended Judgment in a Criminal Case $2& ZLOOEHHQWHUHG
    DIWHUVXFKGHWHUPLQDWLRQ

G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
    ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
    WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
    EHIRUHWKH8QLWHG6WDWHVLVSDLG

    7KHYLFWLP¶VUHFRYHU\LVOLPLWHGWRWKHDPRXQWRIWKHLUORVVD
    The victim’s recovery is limited to the amount of their lossQGWKHGHIHQGDQW¶VOLDELOLW\IRUUHVWLWXWLRQFHDVHVLI
                                                                                                                      DQGZKHQWKHYLFWLPUHFHLYHV
                                                                   and the defendant’s liability for restitution ceases if and when the victim
    IXOOUHVWLWXWLRQ
    receives full restitution.
          Name
          Name
          Name  of
          Name of
               of  Payee
                ofPayee
                   Payee
                  Payee                         Total Loss*                       Total
                                                                                  Total Loss*      Restitution
                                                                                        Loss* Ordered
                                                                                     Restitution                Ordered
                                                                                                                    PriorityPriority
                                                                                                    Restitution Ordered      or Percentage
                                                                                                                                     or Percentage




TOTALS                                                                           

G    6HH6WDWHPHQWRI5HDVRQVIRU9LFWLP,QIRUPDWLRQ

G    5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G    7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
     ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
     WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

G    7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

     G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH G ILQH G UHVWLWXWLRQ
     G WKHLQWHUHVWUHTXLUHPHQWIRUWKH G ILQH G UHVWLWXWLRQLVPRGLILHGDVIROORZV
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
       Case 3:02-cr-00035-GMG-RWT Document 983 Filed 09/21/15 Page 7 of 7 PageID #: 3453
AO 245D
  $2%     (Rev. 12/07)-XGJPHQWLQD&ULPLQDO&DVH
              5HY  Judgment in a Criminal Case for Revocations
v1           6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                         -XGJPHQW²3DJH           RI        
 '()(1'$17 WILLIAM MATTHEW REDMAN                                                                                    Judgment Page: 7 of 7
 &$6(180%(5 3:02CR35-010
                                                        SCHEDULE OF PAYMENTS

 +DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVVKDOOEHGXHDVIROORZV

 A    G /XPSVXPSD\PHQWRI                                   GXHLPPHGLDWHO\EDODQFHGXH

           G QRWODWHUWKDQ                                           RU
           G LQDFFRUGDQFHZLWK G & G                     '    G(G)RUG*EHORZ RU
 B    G 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK                  G&    G' G)RUG*EHORZ RU
 C    G 3D\PHQWLQ                             HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI               RYHUDSHULRGRI
                           HJPRQWKVRU\HDUV WRFRPPHQFH                  HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

 D    G 3D\PHQWLQ                           HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI               RYHUDSHULRGRI
                         HJPRQWKVRU\HDUV WRFRPPHQFH                  HJRUGD\V DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
           WHUPRIVXSHUYLVLRQRU

 E    G 3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                      HJRUGD\V DIWHUUHOHDVHIURP
           LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

 F    G 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
           )LQDQFLDOREOLJDWLRQVRUGHUHGDUHWREHSDLGZKLOHWKHGHIHQGDQWLVLQFDUFHUDWHGDQGLISD\PHQWLVQRWFRPSOHWHGGXULQJ
           LQFDUFHUDWLRQLWLVWREHFRPSOHWHGE\WKHHQGRIWKHWHUPRIVXSHUYLVHGUHOHDVHRU


 G    G 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
           7KHGHIHQGDQWVKDOOLPPHGLDWHO\EHJLQPDNLQJUHVWLWXWLRQDQGRUILQHSD\PHQWVRIBBBBBBBBBBBBBBBSHUPRQWKGXHRQWKHILUVW
           RIHDFKPRQWK7KHVHSD\PHQWVVKDOOEHPDGHGXULQJLQFDUFHUDWLRQDQGLIQHFHVVDU\GXULQJVXSHUYLVHGUHOHDVH

 8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLQWKHVSHFLDO
 Unless the court has expressly ordered otherwise in the specialLQVWUXFWLRQDERYHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDO
                                                                  instruction above, if this judgment imposes imprisonment, payment of
 PRQHWDU\SHQDOWLHVLVGXHGXULQJWKHSHULRG
 criminal monetary penalties is due during RILPSULVRQPHQW$OO FULPLQDOPRQHWDU\SHQDOWLHVH[FHSWWKRVHSD\P
                                            the period of imprisonment.   All criminal monetary penalties, exceptHQWVPDGHWKURXJKWKH)HGHUDO
                                                                                                                  those payments made through
 %XUHDXRI3ULVRQV¶,QPDWH)LQDQFLDO5HVSRQVLELOLW\3URJUDPDUHPDGHWR&OHUN86'LVWULFW&RXUW1RUWKHUQ'LVWULFWRI:
 the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to Clerk, U. S. District Court, NorthernHVW9LUJLQLD32
                                                                                                                              District of West
 %R[(ONLQV:9
 Virginia, P.O. Box 1518, Elkins, WV 26241.
 7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG



 G    -RLQWDQG6HYHUDO

      5HVWLWXWLRQLVWREHSDLGMRLQWDQGVHYHUDOZLWKRWKHUUHODWHGFDVHVFRQYLFWHGLQ'RFNHW1XPEHU V BBBBBBBBBBBBBBBBBBBBBBBBBBBBB




 G    7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ

 G    7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 

 G    7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV

      3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO 
      ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
